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                               UNITED STATES JUDICIAL PANEL
                                            on
                                MULTIDISTRICT LITIGATION



 IN RE: AQUEOUS FILM−FORMING FOAMS
 PRODUCTS LIABILITY LITIGATION                                                          MDL No. 2873



                                    (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO −14)



 On December 7, 2018, the Panel transferred 75 civil action(s) to the United States District Court for
 the District of South Carolina for coordinated or consolidated pretrial proceedings pursuant to 28
 U.S.C. § 1407. See 357 F.Supp.3d 1391 (J.P.M.L. 2018). Since that time, 31 additional action(s)
 have been transferred to the District of South Carolina. With the consent of that court, all such
 actions have been assigned to the Honorable Richard M. Gergel.

 It appears that the action(s) on this conditional transfer order involve questions of fact that are
 common to the actions previously transferred to the District of South Carolina and assigned to Judge
 Gergel.

 Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
 Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
 District of South Carolina for the reasons stated in the order of December 7, 2018, and, with the
 consent of that court, assigned to the Honorable Richard M. Gergel.

 This order does not become effective until it is filed in the Office of the Clerk of the United States
 District Court for the District of South Carolina. The transmittal of this order to said Clerk shall be
 stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
 Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                       FOR THE PANEL:


       Jul 18, 2019
                                                       John W. Nichols
                                                       Clerk of the Panel



                      A TRUE COPY
                      ATTEST: ROBIN L. BLUME, CLERK


                      BY:

                               DEPUTY CLERK
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  IN RE: AQUEOUS FILM−FORMING FOAMS
  PRODUCTS LIABILITY LITIGATION                                     MDL No. 2873



                    SCHEDULE CTO−14 − TAG−ALONG ACTIONS



    DIST     DIV.      C.A.NO.      CASE CAPTION


  NEW JERSEY

                                    GURBIR S. GREWAL, ATTORNEY GENERAL OF
     NJ        3      19−14734      THE STATE OF NEW JERSEY et al v. 3M
                                    COMPANY et al
